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                                                                                      United States Bankruptcy Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                     IN THE UNITED STATES BANKRUPTCY COURT                               November 06, 2024
                       FOR THE SOUTHERN DISTRICT OF TEXAS                                 Nathan Ochsner, Clerk
                                HOUSTON DIVISION

IN RE:                              §
                                    §                      CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES §
LLC,                                §                      CHAPTER 7
                                    §
        Debtor.                     §
                                    §
JOHN QUINLAN, OMAR KHAWAJA          §
AND OSAMA ABDULLATIF,               §
                                    §
        Plaintiffs,                 §
                                    §
VS.                                 §                      ADVERSARY NO. 23-3141
                                    §
JETALL COMPANIES, INC., ARABELLA §
PH 3201 LLC, 9201 MEMORIAL DR. LLC, §
2727 KIRBY 26L LLC, DALIO HOLDINGS §
I, LLC, DALIO HOLDINGS II, LLC,     §
HOUSTON REAL ESTATE PROPERTIES, §
LLC, SHAHNAZ CHOUDHRI, ALI          §
CHOUDHRI, SHEPHERD-HULDY            §
DEVELOPMENT I, LLC, SHEPHERD-       §
HULDY DEVELOPMENT II, LLC,          §
GALLERIA LOOP NOTE HOLDER LLC, §
A. KELLY WILLIAMS, MOUNTAIN         §
BUSINESS CENTER, LLC, RANDY W       §
WILLIAMS CH7 TRUSTEE, OTISCO RDX §
LLC, MCITBE, LLC, JETALL/CROIX      §
PROPERTIES LP, AND                  §
JETALL/CROIX GP, LLC,               §
                                    §
        Defendants.                 §

       ORDER DENYING MOTION FOR WITHDRAWAL OF THE REFERENCE

       On October 31, 2024, one of the defendants, Jetall Companies (“Jetall”) filed a motion
seeking to withdraw the reference (ECF No. 265), and noticed the court of its non-consent to a
jury trial or the entry of final orders by the Bankruptcy Court (ECF No. 262). Jetall had earlier
filed a Demand for Jury Trial in this adversary proceeding (ECF No. 78). The motion to withdraw
the reference alleges that only state law claims and non-core matters exist in the claims in this case.

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Jetall has also demanded a trial by jury in this adversary and now provides notice that it does not
consent to a jury trial and the entry of final orders by the bankruptcy court.
        Pursuant to General Order No. 2011-12 in the United States District Court for the Southern
District of Texas (“Authority of Bankruptcy Judges to Enter Final Orders”), as well as Bankruptcy
Local Rule 5011-1, this Court enters this order.
                                                  Discussion

        The District Court for the Southern District of Texas exercises original jurisdiction over
this adversary proceeding.1 The adversary proceeding was filed with the bankruptcy court because
the district court has generally referred all cases under title 11 of the United States Code, and all
proceedings “arising under” title 11 or “arising in” or “related to” a case under title 11, to the
bankruptcy judges.2 General Order No. 2011-12 requires parties in adversary proceedings to move
to withdraw the reference within 90 days of the complaint or notice of removal.3
        On August 2, 2023, this Court issued a Preliminary Pretrial Order (ECF No. 2) in this
adversary advising the parties of the following:
        You have the right to object to the final adjudication by this Court of any non-core
        matters or matters that fall within the scope of Stern v. Marshall, 564 U.S. 462
        (2011). Any such objection to this Court’s entry of final orders in this case must be
        filed with the Court no later than one day before the date set for the pretrial
        conference.

        The pretrial conference was set for October 18, 2023, then continued to November 1, 2023
when it was held. No party moved to withdraw the reference until a year later, on October 31,
2024, and trial is scheduled for December 9, 2023. The Court finds this motion untimely.
        Furthermore, Article III permits a bankruptcy court to decide claims submitted to them by
consent.4 Jetall has expressly not consented to the entry of final judgment by the bankruptcy court.
In a core proceeding, an aggrieved party may appeal the judgment of the bankruptcy court to the
district court, which applies a de novo standard of review to the conclusions of law and the clearly
erroneous standard to findings of fact under 28 U.S.C.A. § 158(a). However, for noncore
proceedings, the bankruptcy court submits proposed findings of facts and conclusions of law to


1
  28 U.S.C. §1334(a) and (b)
2
  General Order 2012-6 Order of Reference to Bankruptcy Judges, United States District Court Southern District of
Texas, May 24, 2012
3
  Id. at No. 1.
4
  Wellness Intern. Network Ltd. V. Sharif, 575 U.S. 665, 135 S.Ct. 1932, 191 L.Ed.2d 911 (2015).
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the district court. As there are non-core causes of action plead in the amended complaint, the
bankruptcy court cannot issue final judgments without the parties’ consent.
       For these reasons, this Court denies the motion to withdraw the reference, strikes the jury
demand at ECF No. 78 based on Jetall’s statement that it does not consent to a jury trial by the
Bankruptcy Court, the trial will proceed in the bankruptcy court, and the bankruptcy court will
make a report and recommendation to the district court based on the lack of the parties’ consent to
the entry of a final judgment.
       THEREFORE, IT IS ORDERED that the Motion to Withdraw the Reference (ECF No.
265) is DENIED, and the Demand for Jury Trial filed by Jetall Companies, Inc. (ECF No. 78) is
STRUCK.
        SIGNED 11/06/2024


                                                    ___________________________________
                                                    Jeffrey Norman
                                                    United States Bankruptcy Judge




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